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 5
                          UNITED STATES DISTRICT COURT
 6                  WESTERN DISTRICT OF WASHINGTON AT SEATTLE
 7
     UNITED STATES OF AMERICA,                            NO. MJ16-270
 8
                                   Plaintiff,
 9
            v.
10                                                        DETENTION ORDER
11   DEVONTEA ROSEMON,

12                                 Defendant.

13
     Offenses charged:
14

15          Count 1:              Conspiracy to Distribute Cocaine

16          Counts 2-4, 6:        Distribution of Cocaine

17          Counts 5, 8, 9-13:    Unlawful Possession of a Firearm

18          Count 7:              Possession of a Firearm in Furtherance of a Drug Trafficking
                                  Crime
19
     Date of Detention Hearing: June 23, 2016
20
            The Court, having conducted a detention hearing pursuant to 18 U.S.C. § 3142(f), and
21
     based upon the factual findings and statement of reasons for detention hereafter set forth, finds:
22

23          FINDINGS OF FACT AND STATEMENT OF REASONS FOR DETENTION
            1.      Pursuant to 18 U.S.C. § 3142(e), there is a rebuttable presumption that
24
                    defendant is a flight risk and a danger to the community based on the nature of
25
                    the pending charges. Application of the presumption is appropriate in this case.
26

     DETENTION ORDER
     18 U.S.C. § 3142(i)
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 1         2.    Defendant has ready access to firearms. The Complaint indicates 12 firearms.

 2         3.    Defendant had firearms during the drug deals involved in the Complaint.

 3         4.    At defendant’s home, he had an automatic rife with a 100 round ammunition

 4               drum.

 5         5.    The evidence against the defendant, although the least significant factor, is very

 6               strong.

 7         6.    There are no conditions or combination of conditions other than detention that

 8               will reasonably assure the appearance of defendant as required or ensure the

 9               safety of the community.

10         IT IS THEREFORE ORDERED:
11         (1)   Defendant shall be detained and shall be committed to the custody of the
12               Attorney General for confinement in a correction facility separate, to the extent
13               practicable, from persons awaiting or serving sentences or being held in custody
14               pending appeal;
15         (2)   Defendant shall be afforded reasonable opportunity for private consultation with
16               counsel;
17         (3)   On order of a court of the United States or on request of an attorney for the
18               government, the person in charge of the corrections facility in which defendant
19               is confined shall deliver the defendant to a United States Marshal for the
20               purpose of an appearance in connection with a court proceeding; and
21   //
22   //
23   //
24   //
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26

     DETENTION ORDER
     18 U.S.C. § 3142(i)
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 1         (4)   The Clerk shall direct copies of this Order to counsel for the United States, to

 2               counsel for the defendant, to the United States Marshal, and to the United States

 3               Pretrial Services Officer.

 4         DATED this 23rd day of June, 2016.

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                                                A
                                                JAMES P. DONOHUE
 7                                              Chief United States Magistrate Judge

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     DETENTION ORDER
     18 U.S.C. § 3142(i)
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